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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 1:12-cr-273

v.                                                         HON. JANET T. NEFF

AMANDA JANE DORDON,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Amanda Jane Dordon has filed a motion for modification or reduction of sentence

(Dkt 185) pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table

with respect to cocaine base (crack cocaine). The U.S. Probation Department filed a Sentence

Modification Report (Dkt 204) and defendant has filed a Response (Dkt 209).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to cocaine base (crack

cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November

1, 2011. U.S.S.G. § 1B1.10(c).

       However, the defendant is ineligible as her original sentence was below the minimum of the

amended guideline range. U.S.S.G. § 1B1.10(b)(2)(A). A reduction of sentence is inconsistent with

the policy statements of the U.S. Sentencing Commission.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 185) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.


DATED: June 11, 2015                              /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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